           Case 1:21-cv-00397-APM Document 1 Filed 02/12/21 Page 1 of 7




       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


Pablo Abreu
2081 Matthews Ave
2nd Floor
Bronx, New York 10462

                       Plaintiff,
                                                        Case#
v.

Howard University
2400 6th St NW
Suite 440
Washington, DC 20059
                   Defendant.




                             COMPLAINT AND JURY DEMAND

        COMES NOW Plaintiff, Pablo Abreu, by and through counsel, and hereby moves this

Honorable Court for judgment in this civil action against Defendant Howard University, College

of Medicine (hereinafter “College of Medicine”), and in support thereof states as follows:

                                             PARTIES

1.      Plaintiff, Pablo Abreu is a resident of the State of New York.

2.      Defendant, Howard University College of Medicine is a private institution of higher

        learning located in the District of Columbia.

                                    JURISDICTION & VENUE

3.   Diversity jurisdiction lies with this Court because Plaintiff and Howard University are citizens

     of different states. Amount in controversy exceeds $75,000.

4. Personal jurisdiction lies with this Court because Howard University is a citizen of the District

     of Columbia.
          Case 1:21-cv-00397-APM Document 1 Filed 02/12/21 Page 2 of 7




5. Venue is proper because a substantial part of the events described took place in the District of

   Columbia.

                                    STATEMENT OF FACTS

                         Mr. Abreu’s First Years at College of Medicine

6. Plaintiff, Pablo Abreu, was a student at the Howard University College of Medicine. He

   enrolled as a student at the College of Medicine in 2017.

7. Mr. Abreu was dismissed from the College of Medicine on August 27, 2019. In a letter dated,

   August 27, 2019, the College of Medicine’s Committee on Student Promotions and

   Graduation informed Mr. Abreu that he would be dismissed from the college because he

   made three unsuccessful attempts to pass the United States Medical Licensing Examination

   (UMSLE) Step 1. The letter referenced previous communications, where Mr. Abreu was

   allegedly advised of deadlines to prevent dismissal, including passing the UMSLE Step 1 by

   June 1, 2019, which Mr. Abreu never received.

8. Mr. Abreu first attempted the USMLE Step 1 after completion of his Spring 2017 studies.

9. Prior to the exam, which took place in June, Mr. Abreu used a 6-week window between the

   end of his classes and the exam to prepare. He contacted the College of Medicine’s Dean of

   Academic Affairs to inform her that he had been struggling to pass practice exams, get

   advice about how best to prepare for the exam, and to receive additional time to prepare.

10. Mr. Abreu was allowed to attempt the exam in September. However, was informed that the

   College of Medicine only provides assistance with exam preparation after he has already

   failed an attempt.

11. Mr. Abreu took the exam on September 20, 2017, and failed. After failing the exam, he was

   given the option to take a leave of absence from the College of Medicine and attend an 8-
           Case 1:21-cv-00397-APM Document 1 Filed 02/12/21 Page 3 of 7




   week intensive preparatory program approved by the College of Medicine in Champaign

   Illinois, the Pass Program.

12. Mr. Abreu remained at the program from January 29, 2018, to August 24, 2018. He covered

   the costs of his stay at the Pass Program including rent, food, practice exams, and USMLE

   fees.

                                       Mr. Abreu’s Diagnosis

13. While attending the Pass Program, Mr. Abreu was advised to seek help from a medical

   professional. In May 2018, Mr. Abreu sought treatment from a psychologist at the University

   of Illinois, recommended to him by the Pass Program. After a few sessions, the psychologist

   gave Mr. Abreu a diagnosis of “Specific Phobia: Situational Type,” ranking his severe testing

   anxiety to be in the 98th percentile, and concluded that he also screened positively for

   Attention Deficit Hyperactivity Disorder (ADHD).

14. With knowledge of his diagnosis, that same month, Mr. Abreu attempted to obtain an

   extension for his exam and sough an emergency loan to cover practice exams and living

   expenses as he prepared for the exam. The College of Medicine denied both requests.


15. On June 11, 2018, the school was notified by letter about Mr. Abreu’s medical conditions,

   which was registered under the American with Disabilities Act. The clinical psychologist

   provided a letter noting that Mr. Abreu suffered from severe test anxiety. It noted Mr.

   Abreu’s diagnosis of “Specific Phobia: Situational Type,” and concluded that he also

   screened positively for ADHD. The psychologist’s letter also stated that despite consistent

   efforts to challenge his anxiety, the difficulties he faced with test-taking anxiety could

   significantly impede Mr. Abreu’s ability to make progress toward the licensure.
          Case 1:21-cv-00397-APM Document 1 Filed 02/12/21 Page 4 of 7




16. Mr. Abreu asked for the College of Medicine to set aside its policy of limiting to USMLE

   Step 1 attempts to 3. He was allowed to take the exam at a later date, but failed. After his

   second unsuccessful attempt at the exam, he was presented for dismissal, but he appealed by

   letter on September 19, 2018. The College of Medicine later granted a medical leave of

   absence, with no written expression of terms or expectations being delivered to Mr. Abreu of

   how he should proceed during the leave. The school offered no other accommodation.

                                Mr. Abreu’s Attempts to Mitigate

17. Mr. Abreu received no letter from the College of Medicine regarding the conditions of his

   leave of absence. During his leave he continued with self-directed study. His participation in

   the Pass Program and therapy were interrupted due to a car accident in December 2018,

   which prevented him from working, and lack of health insurance. He resumed therapy with a

   psychologist from the Westchester Medical Center, who wrote the school suggesting they set

   aside their policy on the number of attempts for the USMLE Step 1.


18. On June 10, 2018, the College of Medicine’s dean contacted Mr. Abreu to alert him that he

   was in danger of dismissal for being out of compliance with a June 1, 2018, deadline for

   submitting a successful third USMLE Step 1, according to a leave of absence letter Mr.

   Abreu never received. Left with no accommodations from the College of Medicine, Mr.

   Abreu attempted the exam for a third time on June 22, 2019, and failed.

19. Despite Mr. Abreu’s efforts to comply with the proper procedure to be successful on the

   exam, he was dismissed.

20. He completed the PASS program without financial aid, and he maintained contact with the

   college. However, the College of Medicine’s failure to send him notice resulted in him being

   unprepared for his final attempt at the USMLE Step 1.
              Case 1:21-cv-00397-APM Document 1 Filed 02/12/21 Page 5 of 7




21.      Damages include:

         a)      Injunction for Plaintiff’s readmission to the College of Medicine.

         b)      Monetary damages to be determined.

         c)      Reasonable attorney fees to be determined at the dissolution of this case.

22.        Plaintiff seeks all damages to which it is entitled.

                               COUNT I-BREACH OF CONTRACT

                                            41 U.S.C. §6503

23.       Plaintiff repeats and re-alleges each and every allegation contained in paragraph 1 through

         22 and incorporates them by reference as if fully set out herein.

24.      Plaintiff entered into an implied agreement with Defendant to pursue his studies in good

         faith in exchange for a degree.

25.      The terms of the implied contract can be found in the College of Medicine’s Policies and

         Procedures manual.

26.      The manual stated that the second Wednesday in July of the year the student completed

         their second year was the cutoff to pass the UMSLE Step 1.

27.      In a letter dated August 27, 2019, Mr. Abreu was dismissed from the College of Medicine

         for not completing the exam by June 1, 2019.

28.      The College of Medicine breached its contractual obligation when it dismissed Plaintiff

         before the manual’s stated cutoff date for completion of the UMSLE Step 1.

                           COUNT II-FAILURE TO ACCOMMODATE

                      TITLE III, AMERICANS WITH DISABILITIES ACT
                                     (42 U.S.C. § 12181)

29. Plaintiff repeats and re-alleges each and every allegation contained in paragraph 1 through 28

      and incorporates them by reference as if fully set out herein.
          Case 1:21-cv-00397-APM Document 1 Filed 02/12/21 Page 6 of 7




30. The College of Medicine is a public accommodation under Title III of the Americans with

   Disabilities Act.

31. Defendant discriminated against Plaintiff on the basis of his disability.

32. Plaintiff notified the College of Medicine of his diagnosis of “Specific Phobia: Situational

   Type” and ADHD on June 11, 2018.

33. The diagnosing psychologist noted that despite consistent efforts to challenge his anxiety, the

   difficulties he faced with test-taking anxiety could significantly impede Plaintiff’s ability to

   make progress toward the licensure.

34. The College of Medicine made no individualized assessment into Plaintiff’s impairment and

   made no accommodations based on the diagnosing psychologist’s letter.


                        COUNT III-FAILURE TO ACCOMMODATE

                   SECTION 540, THE REHABILITATION ACT OF 1973
                                   (29 U.S.C. § 794)

35. Plaintiff repeats and re-alleges each and every allegation contained in paragraph 1 through 34

   and incorporates them by reference as if fully set out herein.

36. Plaintiff notified the College of Medicine of his diagnosis of “Specific Phobia: Situational

   Type” and ADHD on June 11, 2018.

37. Despite the diagnosing psychologist noting that despite consistent efforts to challenge

   Plaintiff’s anxiety and that the difficulties he faced with test-taking anxiety could

   significantly impede his ability to make progress toward the licensure, the College of

   Medicine made no individualized assessment into Plaintiff’s impairment and made no

   accommodations based on the diagnosing psychologist’s letter.

38. The College of Medicine received federal funding.

39. WHEREFORE, Plaintiff prays for relief as set forth below.
          Case 1:21-cv-00397-APM Document 1 Filed 02/12/21 Page 7 of 7




                                      REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs respectfully requests of this Court:

       A. Grant monetary damages in the amount of at least $75,795.

       B. Grant Plaintiff reasonable attorney fees to be determined at the dissolution of this case.

       C. Grant Plaintiff any additional damages and court costs, as the court deems necessary.

                                           Jury Demand

Plaintiff hereby demands a trial by jury on all claims so triable.

                                                                            Respectfully submitted,


                                                                           /s/ Lucrecia P. Johnson
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